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            EXHIBIT 5
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                    UNITED STATES DISTRICT COURT

               FOR THE NORTHERN DISTRICT OF GEORGIA

                           ATLANTA DIVISION

                 Civil Action No. 1:17-cv-02989-AT

    ____________________________________________________

    DONNA CURLING, et al.,

           Plaintiffs,

    vs.

    BRAD RAFFENSPERGER, et al.,

           Defendants.

    ____________________________________________________



          VIDEOTAPED DEPOSITION OF EMILY MISTY HAMPTON

    DATE:               November 11, 2022

    TIME:               10:49 a.m. to 6:07 p.m.

    LOCATION:           Courtyard by Marriott Warner Robins
                        589 Carl Vinson Parkway
                        Warner Robins, Georgia 31088

    REPORTED BY:      Felicia A. Newland, CSR




                     Veritext Legal Solutions
                 1250 Eye Street, N.W., Suite 350
                      Washington, D.C. 20005
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                                                                Page 52
1      the computer or are those accessed through the

2      internet?     Do you know?

3                A       An app on the -- I mean the Windows

4      home.

5                Q       Right.

6                        MR. MILLER:     She can answer, but I'm

7      going to object to form.

8                        THE WITNESS:     It's just the Windows

9      home, like the little icon down there.

10     BY MR. BROWN:

11               Q       Okay.    Who is Preston Haliburton?

12               A       I have no idea.

13               Q       Do you see where he -- his name and

14     e-mail address is texted to you by Eric Chaney?

15               A       I do.

16               Q       And do you know why -- well, what is

17     your understanding of the reason you would be given

18     Preston Haliburton's e-mail address.

19                       MR. MILLER:     Object to form.

20                       THE WITNESS:     I do not remember.

21     BY MR. BROWN:

22               Q       Tell me about your communications
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                                                                Page 53
1      with Mr. Haliburton.

2                A       I do not know a Mr. Haliburton.

3                Q       Do you recall ever communicating with

4      him?

5                A       No, sir.

6                Q       Do you know who he is?

7                A       No, sir.

8                Q       In the -- if you'd go to the next

9      page, it's page 22 of Exhibit 3.           Do you see that?

10               A       I do.

11               Q       Let me direct your attention to the

12     January 6th entry where you say to Mr. Chaney,

13     "Scott Hall is on the phone with Cathy about

14     wanting to come scan our ballots from the general

15     election like we talked about the other day.              I am

16     going to call you in a few."

17                       Do you see that?

18               A       I do.

19               Q       And how did -- how did you know that

20     Scott Hall was on the phone with Cathy?

21                       MR. MILLER:     Object to form.

22                       THE WITNESS:     I don't recall.
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                                                                Page 54
1      BY MR. BROWN:

2                Q       Was Cathy Latham just standing in

3      front of you talking to Mr. Hall probably?

4                A       I don't --

5                        MR. MILLER:     Object to form.

6      BY MR. BROWN:

7                Q       You don't remember?

8                A       Correct.

9                Q       And you knew Scott Hall by this time,

10     right?

11                       MR. MILLER:     Object to form.

12                       THE WITNESS:     No, sir.

13     BY MR. BROWN:

14               Q       So you said Scott Hall, but you

15     didn't know who he was.         I guess did Mr. Chaney

16     know who he was?

17                       MR. MILLER:     Object to form.

18                       THE WITNESS:     I do not know.

19     BY MR. BROWN:

20               Q       In this text you say, "Like we talked

21     about the other day."        So you spoke with Mr. Chaney

22     about scanning ballots.         Is that right?
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                                                                Page 55
1                        MR. MILLER:     Let me advise my client,

2      please.

3                    (Counsel speaking to client off the

4                    record.)

5                        THE WITNESS:     I'll take the Fifth

6      Amendment.

7      BY MR. BROWN:

8                Q       And scanning ballots was code for

9      making a forensic copy of the entire Coffee County

10     Election System, right?

11               A       I'll take the Fifth.

12               Q       Scott Hall wasn't about to come just

13     to scan ballots, was he?

14                       MR. MILLER:     Object to form.

15                       THE WITNESS:     I do not know.

16     BY MR. BROWN:

17               Q       You don't remember when you first

18     learned the name Scott Hall?

19               A       No, sir.

20               Q       You didn't know who he was on

21     January 6th?

22               A       I do not recall.
 Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 7 of 25


                                                                Page 56
1                Q       The Cathy you refer to here is Cathy

2      Latham?

3                A       Yes.

4                Q       Who is she?

5                A       Head of the Republican Party.

6                Q       Right.

7                        So what is the head of the Republican

8      Party doing -- arranging for someone to come scan

9      the ballots?

10                       MR. MILLER:     Object to form.

11                       THE WITNESS:     I do not know.

12     BY MR. BROWN:

13               Q       She wasn't associated formally with

14     the election's office, right?

15               A       She was the Republican who, along

16     with a Democrat and a board member, that we used

17     for vote review panel.

18               Q       Oh, I see.     So the Democrat and Cathy

19     Latham were going to work with Scott Hall to -- to

20     scan ballots?

21                       MR. MILLER:     Object to form.

22                       THE WITNESS:     That's not what I said.
 Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 8 of 25


                                                                Page 57
1      BY MR. BROWN:

2                Q       Right, but was she -- was she

3      involved with Scott Hall in her capacity as a

4      member of the vote review panel or just a stranger

5      from the Republican Party?

6                        MR. MILLER:     Object to form.

7                        THE WITNESS:     Not as the vote -- vote

8      review panel, no.

9      BY MR. BROWN:

10               Q       Okay.    And then tell me about the

11     conversation you had with Eric Chaney about,

12     "Someone coming to scan our ballots for the general

13     election."

14               A       I do not recall.

15               Q       You don't remember talking with Eric

16     Chaney about someone coming to scan ballots for the

17     general election?

18               A       I'll take the Fifth Amendment.

19               Q       And as of January -- well, just

20     fast-forward a little bit.         January 7th is when the

21     team from SullivanStrickler came to Coffee County,

22     right?
 Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 9 of 25


                                                              Page 117
1                Q       Okay.    And what do you recall about

2      what either of them -- well, let's -- let's talk

3      about Mr. Lenberg first.

4                        What do you recall Mr. Lenberg doing

5      when he was there?

6                A       Discussing the election equipment.

7                Q       With you?

8                A       Yes, sir.

9                Q       And so he was trying to figure out

10     how it worked.      Is that right?

11               A       Correct.

12               Q       And you told him, right?

13               A       Yes, sir.

14               Q       You answered his questions, right?

15               A       That's correct.

16               Q       And did he -- did you give him sort

17     of hands-on access to the equipment or did he ask

18     you to do things to the equipment and then answer

19     questions?     If that makes any sense.

20               A       That don't make any sense.

21               Q       Okay.    Did you allow him access to

22     the equipment, hands-on?
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 10 of 25


                                                              Page 118
1               A       Did he touch the machines, is that

2     what you're asking?

3               Q       Well, okay, did he touch the

4     machines?

5               A       No.

6               Q       Okay.    Did he ask not to touch the

7     machines?

8               A       Not that I recall.

9               Q       Okay.    So how did -- how did -- did

10    he examine the machines -- the machines through

11    you?    Did you do it for him?

12              A       I was the one that was physically

13    touching the machines, yes.

14              Q       Right.    Okay.

15                      And give me an example of what you

16    can recall about Mr. Lenberg asking you to do on

17    the machines.

18                      MR. MILLER:      Object to form.

19                      THE WITNESS:      I don't recall, sir.

20    BY MR. BROWN:

21              Q       But basically he was trying to figure

22    out how they worked, right?          Fair to say?
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 11 of 25


                                                              Page 119
1               A       I would say so.

2               Q       And did he ask you to make any copies

3     of any of the equipment or the software or the

4     thumb drives or anything else in there?

5               A       I'm going to plead the Fifth on that.

6               Q       Okay.    And I believe the video shows

7     that Mr. Lenberg came over a period of days.               Is

8     that consistent with your recollection?

9               A       Yes, sir.

10              Q       Okay.    And so he would come and ask

11    you questions and have you do certain things on the

12    machines, leave and then come back the next day and

13    do -- do that some more, right?

14              A       Correct.

15              Q       Okay.    And was the purpose of this

16    again to fix your ICC scanner or was there another

17    purpose for Mr. Lenberg's visit?

18                      MR. MILLER:      Object to form.

19                      THE WITNESS:      I can't answer that.

20    BY MR. BROWN:

21              Q       Do you know why he was there, why he

22    was allowed to be there?
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 12 of 25


                                                              Page 120
1                       MR. MILLER:      Object to form.

2                       THE WITNESS:      No, sir, I do not.

3     BY MR. BROWN:

4               Q       Okay.    So Mr. Chaney gave you the

5     instruction, you followed it, but you did not know

6     what the purpose of it was, correct?

7               A       I didn't do anything without the

8     direction of Eric Chaney.

9               Q       Right.

10                      At Mr. Chaney's direction, you

11    allowed Mr. Lenberg to have access to the equipment

12    and you answered his questions.           And you do not

13    know specifically why that was being done, correct?

14                      MR. MILLER:      Object to form.

15                      THE WITNESS:      Correct.

16    BY MR. BROWN:

17              Q       Okay.    Is it fair to say that it had

18    to be for some reason other than fixing the ICC

19    scanner?

20                      MR. MILLER:      Object to form.

21                      THE WITNESS:      I don't know how to

22    answer that question.
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 13 of 25


                                                              Page 121
1     BY MR. BROWN:

2               Q       Did Mr. Lenberg ask you to change the

3     clock on the system?

4               A       I don't recall.

5               Q       So he might have or might not have,

6     you just don't another one way or the other?

7               A       I do not recall.

8               Q       Well, I don't recall being an NBA

9     player, but I can also say to a metaphysical

10    certitude that I was not.

11                      What I'm trying to get is, is this a

12    situation where maybe he did ask you to change the

13    clock?    Maybe he didn't?       I don't remember one way

14    or the other?

15              A       I do not --

16              Q       Something that you can remember

17    like -- like talking to President Trump.

18                      Do you recall when you said you do

19    not recall talking to President Trump, so the

20    correct answer was you know you didn't?              That's

21    what I'm trying to get to here.           Okay?

22                      Did Mr. Lenberg ask you to change the
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 14 of 25


                                                              Page 122
1     clock?

2               A       I do not recall.

3               Q       So he might have, correct?

4               A       I do not recall.

5               Q       So if he said he did, you would not

6     deny it, right?

7               A       I do not recall.

8               Q       I want an answer to my last question.

9                       MR. MILLER:      Object to form.

10                      Go ahead and answer.

11                      THE WITNESS:      I don't remember if he

12    told me to or not.

13    BY MR. BROWN:

14              Q       So he could have or he could not

15    have, you just don't know one way or the other,

16    right?

17              A       He could be a millionaire, I don't

18    know.

19              Q       No, it's different, Ms. Hampton.

20    There are things that you would -- you would

21    remember.     Isn't changing the clock on the computer

22    something you would remember if he asked you to do?
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 15 of 25


                                                              Page 123
1               A       Mr. Brown, I do not remember.

2               Q       Okay.    So he might have, right?

3               A       I do not remember if he did or did

4     not.

5               Q       Okay.

6               A       I'm not going to answer a question

7     that I do not remember the answer to.

8               Q       I'm not asking you if you remember,

9     I'm -- I mean, there are -- he didn't -- you recall

10    that he didn't drive his car through the office,

11    correct?

12                      That did not happen, right?

13              A       No, he did not drive his car through

14    the window -- through the office.

15              Q       Right.

16                      You don't remember that happening,

17    right?

18              A       No, he did not drive his car through

19    the office.

20              Q       Okay.    But you cannot say for sure

21    that he did not ask you to change the clock, right?

22              A       Correct, I cannot say for sure.
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 16 of 25


                                                              Page 124
1               Q       Okay.    Now, other than Mr. Chaney,

2     who did you discuss Mr. Logan and Mr. Lenberg's

3     visit to the Coffee County Election's Office with?

4               A       I don't recall.

5               Q       Okay.    Do you recall referring to the

6     activities of Mr. Lenberg and Mr. Logan as, quote,

7     measuring your desk?

8                       Do you recall that?

9               A       I do.

10              Q       And why did you use that code to

11    describe the work that they were doing?

12                      MR. MILLER:      Object to form.

13                      THE WITNESS:      I plead the Fifth on

14    that.

15    BY MR. BROWN:

16              Q       Did you think that there was

17    something wrong with what they were doing?

18                      MR. MILLER:      Object to form.

19                      THE WITNESS:      I plead the Fifth on

20    that.

21    BY MR. BROWN:

22              Q       Did Mr. Voyles know that -- or did
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 17 of 25


                                                              Page 125
1     you tell Mr. Voyles that Mr. Logan and Mr. Lenberg

2     were there, that they had been there or that they

3     were going to be there?

4               A       I don't recall.

5               Q       Did they get what they came for?

6                       MR. MILLER:      Objection.

7                       THE WITNESS:      I don't know.      It

8     wasn't long after that that I was forced to resign,

9     so I have no idea.

10    BY MR. BROWN:

11              Q       Well, was there any -- was there any

12    connection between you letting them in and you

13    getting terminated?

14                      MR. MILLER:      Object to form.

15    BY MR. BROWN:

16              Q       There was, wasn't there?

17              A       I'm sorry, you cut out on that.

18              Q       Was there any connection between you

19    allowing either SullivanStrickler to have access

20    and Mr. Logan and Mr. Lenberg to have access and

21    the fact that you were terminated?            Do you know?

22                      MS. LAROSS:      Objection as to form.
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 18 of 25


                                                              Page 126
1                       THE WITNESS:      I do not know.

2     BY MR. BROWN:

3               Q       Let me direct your attention to what

4     is going to be marked as Exhibit 5, which is Tab

5     25.

6                   (Hampton Deposition Exhibit Number 5

7                   marked for identification.)

8     BY MR. BROWN:

9               Q       And before I do that, let me ask some

10    of the same questions about -- about -- about

11    Mr. Logan.      This is going to be repetitive, but the

12    questions I had asked you before was about

13    Mr. Lenberg.

14                      You recall Mr. Logan being in your

15    offices.      Is that right?

16              A       Yes.

17              Q       And you do not know the purpose of

18    his visit, correct?

19              A       Correct.

20              Q       And you don't recall whether he asked

21    you one way or the other to change the clock,

22    correct?
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 19 of 25


                                                              Page 242
1     the Secretary's office to make sure that their

2     visit was okay.       Is that correct?

3                       MR. MILLER:      Object as to form.

4                       THE WITNESS:      I was doing direction

5     as my board member told me to do.

6     BY MS. LAROSS:

7               Q       And that, I think you mentioned in

8     your prior testimony, was Eric Chaney?

9               A       Correct.

10              Q       And Mr. Chaney was the one then that

11    told you that the third party was going to be

12    coming -- folks from the third party were going to

13    be coming to access the computer on January 7th,

14    correct?

15              A       Correct.

16              Q       And was it your understanding that he

17    had contacted any -- do you have any understanding

18    whether or not he had contacted anyone from the

19    Secretary of State's office?

20              A       I do not know if he did or not.

21              Q       And you had mentioned that you didn't

22    contact anyone from the Secretary of State's office
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 20 of 25


                                                              Page 243
1     after their visit.        And I'm just going to name some

2     folks and see if that jogs your memory at all.

3                       Did you contact Michael Barnes

4     that -- after the January 7th, 2021 event where the

5     third parties accessed the server and the election

6     equipment in Coffee County?

7               A       I did not.

8               Q       How about, did you tell any county

9     liaisons or any investigators from the Secretary of

10    State's office that folks had accessed the Coffee

11    County server on January 7th?

12              A       I did not.

13              Q       And why did you not let the

14    Secretary's office know that there had been access

15    to the election equipment in Coffee County in -- on

16    January 7th, 2021?

17                      MR. MILLER:      I'm going to advise you

18    accordingly, take the Fifth.

19                      THE WITNESS:      I take the Fifth

20    Amendment.

21    BY MS. LAROSS:

22              Q       And the same question for why you did
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 21 of 25


                                                              Page 244
1     not inform the Secretary's office before the folks

2     came on January 7th, 2021, to access the Coffee

3     County server and election equipment?

4               A       I do not answer to the Secretary of

5     State's office, I answer to the Board.             The Board

6     answers to the Secretary of State's office.

7               Q       So you didn't think it important to

8     let the Secretary's office know that something like

9     that was going to happen?

10              A       Again, I reported to the Board.

11              Q       And I understand that Mr. Lenberg and

12    Mr. Logan were in the Coffee County Election

13    Office, I believe, in January 18th and 19th.               And

14    you've already testified about that so I'm going to

15    ask you similar questions about that visit.

16                      Did you inform anyone at the

17    Secretary of State's office before Mr. Lenberg and

18    Mr. Logan came to the Coffee County Office, as you

19    described earlier in your testimony, in late

20    January of 2021?

21              A       I did not.

22              Q       And why did you not let the
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 22 of 25


                                                              Page 245
1     Secretary's office know?

2                       MR. MILLER:      I advise you to take the

3     Fifth.

4                       THE WITNESS:      I take the Fifth.

5     BY MS. LAROSS:

6               Q       And then after their visit, did you

7     inform anyone from the Secretary's office that they

8     had visited the Coffee County Election Office on

9     January 18th and 19th?

10              A       I did not.

11              Q       And I believe you described

12    previously in your testimony that Mr. Lenberg and

13    Mr. Logan didn't actually touch the election

14    equipment.

15                      Do I recall that correctly?

16              A       To the best of my knowledge.

17              Q       And so you didn't see them while you

18    were with them?       You didn't see them touch the

19    equipment?

20              A       I'm sorry, I didn't hear you.

21              Q       So you didn't -- you didn't actually

22    see them touch the equipment while you were there
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 23 of 25


                                                              Page 246
1     with them on January 18th and the 19th in 2021, in

2     the Coffee County Election Office?

3               A       Not to my knowledge.

4               Q       And I think you described that they

5     were there asking you questions and you physically

6     were going onto the system.          Do I have that

7     correct?

8               A       Yes.

9               Q       And what did they ask you to do?

10                      Do you remember anything that they

11    asked you to do or what they wanted you to -- asked

12    you to look at?       What questions they had?

13              A       I don't recall.

14              Q       Did you print out anything that they

15    took from the office on the occasion when

16    Mr. Lenberg and Mr. Logan were in the office -- the

17    Coffee County Office in January 18th and 19th in

18    2021?

19              A       I don't remember.

20              Q       And I'm not sure I asked you, after

21    Mr. Lenberg and Mr. Logan were in the Coffee County

22    Office, did you inform anyone at the Secretary of
Case 1:17-cv-02989-AT Document 1793-5 Filed 01/22/24 Page 24 of 25


                                                              Page 247
1     State's office or connected with the Secretary of

2     State's office that they had visited the office?

3               A       I did not.

4               Q       And why not?

5                       MR. MILLER:      I would advise you to

6     take the Fifth.

7                       THE WITNESS:      I take the Fifth.

8     BY MS. LAROSS:

9               Q       You testified earlier you said that

10    you gave a deposition and that you also met with

11    Ms. Marks previously.         Do I have that correct?

12              A       That's.

13              Q       Okay.    On how many occasions did you

14    meet with Ms. Marks?

15              A       I think it's been one, I think.

16              Q       Okay.    And at that meeting who else

17    was in attendance at the meeting with Ms. Marks?

18              A       Not counting my attorney?

19              Q       Oh, sure.     So your attorney was

20    there.    So Jonathan was there with you certainly.

21    Okay.

22                      And was -- Ms. Marks, was her
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1                   CERTIFICATE OF NOTARY PUBLIC

2    I, FELICIA A. NEWLAND, CSR, the officer before whom

3    the foregoing video-recorded deposition was taken,

4    do hereby certify that the witness whose testimony

5    appears in the foregoing deposition was duly sworn

6    by me; that the testimony of said witness was taken

7    by me in stenotype and thereafter reduced to

8    typewriting under my direction; that said deposition

9    is a true record of the testimony given by said

10   witness; that I am neither counsel for, related to,

11   nor employed by any of the parties to the action in

12   which this deposition was taken; and, further, that

13   I am not a relative or employee of any counsel or

14   attorney employed by the parties hereto, nor

15   financially or otherwise interested in the outcome

16   of this action.

17

18

19                                     _____________________

20                                   FELICIA A. NEWLAND, CSR
                                     Notary Public
21
     My commission expires:
22   September 15, 2024
